     Case 3:13-cv-01967-CAB-RBB Document 59 Filed 10/29/14 PageID.646 Page 1 of 1



1
2
3
4
5
6
7
8
                           UNITED STATES DISTRICT COURT
9
                         SOUTHERN DISTRICT OF CALIFORNIA
10
     DREW HILL,                        )           Case No. 3:13-cv-01967-CAB-RBB
11                                     )
                            Plaintiff, )           ORDER GRANTING JOINT
12                                     )           STIPULATION AND MOTION
         vs.                           )           FOR DISMISSAL OF ACTION
13                                     )           WITH PREJUDICE
     CAPITAL ONE SERVICES LLC, ET AL., )
14                                     )           [Doc. No. 58]
                            Defendant. )
15                                     )
16
17         Based upon the Joint Stipulation and Motion for Dismissal, and for good cause
18   appearing, the Court GRANTS the Joint Stipulation and Motion for Dismissal. This
19   action is DISMISSED WITH PREJUDICE, in its entirety and as to all defendants.
20         It is SO ORDERED.
21   Dated: October 29, 2014
                                                ______________________________
22
                                                CATHY ANN BENCIVENGO
23                                              UNITED STATES DISTRICT JUDGE
24
25
26
27
28



                                               1
                                                                        3:13-CV-01967-CAB-RBB
